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                                                                                                ENGINEERING

Bechi Engineering Co., lnc., 22 Church Slreet, P.O. Box 300, tiberty Corner, New Jersey 07938
         TollFreeSOO-772-7991 Tel.908-580'1119 Fox.908-580-9260 www.bechl.com


July 30, 2018                                                                        EXHIBlT

                                                                                       fl
Reference: Shell
                 15536 River Rd.
                 Norco, LA7A079
                'Becht Laser Scanning Proposal 26294

The purpose of this proposal is to summarize my understanding of your scope of work
based on the information provided and to submit a lump sum cost for laser scanning
services.


Project Scope

   .   This project is located at Shell in Norco, LA.
   .   Becht will produce 100 MP Aerial UAV photographs, Orthomosiac photographs
       of area shown (see Figure 1).
   o   Becht will align images with the plant monument system allowing for
       georeferencing location of all images.
   o   Becht Laser Scanning will be allowed to bring vehicles in the plant. The vehicles
       will have magnetic signs on each side.
   o   Becht will comply with the site UAV procedures (S1B) and produce flight plans
       for review prior to any flights.
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Commercial lnformation and Project Deliverables

Becht will provide the following deliverables associated with the Project Scope on a
lump sum basis. The overall cost impact to the project based on the scope of work will
be $18,000.00. Note that this proposal expires 10-30-18. Refer to the General Notes
for more information.

                                                                                                           Estimated
   Deliverable                      Description                             Unit Rate        Quantity     lnvestment
                   The estimated costs associated
Mobilization/      with mobilization and
                                                                             lncluded                                  0
Demobilization     demobilization and all other
                  ..e,_xp_-e-n-s._-e-.s-:1"p,-t-"qdging"?!:'"glf   Aygt,
Safety Training    Site Specific Training                                    lncluded                                  0

                                                                            Lump Sum
High Resolution    High resolution photographs and                            pricing
data capture       fly over videos.
                                                                                                 1              $6,000
                                                                             $6,000

                                                                           Total Project   lnvestment           $6,000




Estimated Proiect Schedule
   The estimated schedule for the project is below. Note that the estimated project
   schedule is dependent upon Becht receiving a signed contract or purchase order on
   or before the award.


                                  Activitv                                                         Date
Award date                                                                                         TBD
Field work beqin                                                                                   TBD
Field work duration with 1 crew                                                                    1 day
Delivery of data to Shell                                                                    Maximum of 1 week
                                                                                           after completion on site
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General Notes
  The following general notes provide additional information and clarifications for the
  proposal:

    1. Commercial
       a. All pricing is quoted in US dollars and shall be paid in US dollars.
       b. All pricing is quoted net of (i.e. does not include) any sales, value-added
          taxes or withholding taxes that may othenuise be due on the provided
             services and products.
        c.   All pricing is quoted based on mobilizing one (1) field crew. A crew consist of
             a registered pilot, an assistant and a surveyor.
        d.   Scope differences, scope changes and/or additional work will impact the
             project investment and estimated schedule.
        e.   Downtirne resulting from facility access or unforeseen and uncontrollable
                                                                 t
             events beyond Becht's control will be charged in hour increments at the
             rate of $550.00 per hour.

   2.   Field Work
        a. Shell shall provide contact information for a project representative
             knowledgeable of the scope of work that will be available for logistics, each
             scan location and any other coordination required for the duration of the
             project.
        b.   Shell shall obtain the required permissions or permits to gain access to the
             facility.
        c.   The estimated schedule may vary due to issues such as weather, facility
             access or unforeseen and uncontrollable events beyond Becht's control or
             due to additional services requested.

Becht looks forward to working with Shell



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Gerald McGee
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Becht Engineering Co., lnc.
Laser Scanning Division
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